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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2 :04cr20395-Ma

MICHAEL GREEN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, MAY 5, 2005 at 10:30 A.M. before United States Magistrate Judge S. Thomas
Aoderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Mernphis, TN TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearingl

Date: Mayz, 2005 /© . fy
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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

lIfnot held immediately upon defendants first appearance, the hearingr may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection {2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) Will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or juror.

AO 410 (BIBS) Order of Ternpcrary Detention

This document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:04-CR-20395 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT

